                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

DIANE MINISH,                                )
                                             )
                      Plaintiff,             )
                                             )
                                             )
v.                                           )       JUDGMENT
                                             )
                                             )       No. 5:13-CV-256-F
CO-OPERATIVE ADJUSTMENT                      )
BUREAU,                                      )
                                             )
                      Defendant.             )



Decision by Court.

This action came before the Honorable James C. Fox, Senior United States District Judge, for ruling
as follows:

IT IS ORDERED, ADJUDGED AND DECREED that the entry of default [DE-6] is VACATED,
and this action is DISMISSED without prejudice.

This Judgment Filed and Entered on September 8, 2014, and Copies To:

Mitchel Erik Luxenburg (via Notice of Electronic Filing)



DATE                                                 JULIE A. RICHARDS, CLERK
September 8, 2014                                    /s/ Jacqueline B. Grady
                                                     (By) Jacqueline B. Grady, Deputy Clerk




           Case 5:13-cv-00256-F Document 20 Filed 09/08/14 Page 1 of 1
